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1    DANIEL J. BRODERICK, Bar #89424
     Federal Defender
2    CARRIE LEONETTI, Maryland Bar
     Assistant Federal Defender
3    Designated Counsel for Service
     2300 Tulare Street, Suite 330
4    Fresno, California 93721-2226
     Telephone: (559) 487-5561
5
     Attorney for Defendant
6    ARKISA NALINI BROWN
7
8                                 IN THE UNITED STATES DISTRICT COURT
9                               FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,             )
                                           )             No. 1:06-cr-0201 OWW
12                 Plaintiff,              )
                                           )             WAIVER OF DEFENDANT’S PERSONAL
13     v.                                  )             PRESENCE; ORDER THEREON
                                           )
14   ARKISA NALINI BROWN,                  )             Date : October 1, 2007
                                           )             Time : 1:30 p.m.
15                 Defendant.              )             Judge : Hon. Oliver W. Wanger
     _____________________________________ )
16
17          Pursuant to F. R. CRIM . P. 43 (b) (3), I hereby waive my right to be present in person in open court
18   in the above-entitled case for the continuance of my sentencing hearing which is presently scheduled for
19   October 1, 2007 at 1:30 p.m. I request that the Court proceed with the scheduling of a new date for my
20   sentencing hearing in my absence, pursuant to this waiver. I agree that my interests will be deemed to be
21   represented at all times by the presence of my attorney, Carrie S. Leonetti, Assistant Federal Defender, as
22   ///
23   ///
24   ///
25   ///
26   ///
27   ///
28   ///
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1    if I were personally present.
2    DATED: October 1, 2007
3
4                                                                 /s/ Arkisa Nalini Brown
                                                                  ARKISA NALINI BROWN
5                                                                 Defendant
6
     APPROVED: 9/28/07
7
8
     /s/ Carrie S. Leonetti
9    CARRIE S. LEONETTI
     Assistant Federal Defender
10   Attorney for Defendant
     ARKISA NALINI BROWN
11
12
13
                                              [PROPOSED] ORDER
14
            The Defendant, Arkisa Nalini Brown, is excused from personal appearance at:
15
            1. the Sentencing hearing scheduled for October 1, 2007, and
16
            2. all other hearings in this matter, except for those at which live testimony is to be given.
17
            IT IS SO ORDERED.
18
     Dated: September 28, 2007                        /s/ Oliver W. Wanger
19   emm0d6                                      UNITED STATES DISTRICT JUDGE
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